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 8                          IN THE UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    CASEY LOWE,                                      No. 2:24-CV-1689-DMC
12                       Plaintiff,
13           v.                                        ORDER
14    DEBRA HAALAND,
15                       Defendant.
16

17                  Plaintiff, who is proceeding with retained counsel, brings this civil action. This

18   matter is set for an initial status/scheduling conference before the undersigned on October 16,

19   2024, at 1:30 p.m., via Zoom. On or before October 9, 2024, the parties shall meet and confer

20   and file with the Court a joint scheduling conference statement consistent with Eastern District of

21   California Local Rule 240(a).

22                  IT IS SO ORDERED.

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24   Dated: September 19, 2024
                                                           ____________________________________
25                                                         DENNIS M. COTA
26                                                         UNITED STATES MAGISTRATE JUDGE

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